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Exhibit 1: Pertinent Mexican Law
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                                    Código Civil Federal

 Artículo 1830.‐ Es ilícito el hecho que es contrario a las leyes de orden público o a las
 buenas costumbres.

 Article 1830 ‐ An act that is contrary to good customs and laws pertaining public order is
 illegal.




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 Artículo 1910.‐ El que obrando ilícitamente o contra las buenas costumbres cause daño a
 otro, está obligado a repararlo, a menos que demuestre que el daño se produjo como
 consecuencia de culpa o negligencia inexcusable de la víctima.

 Article 1910 ‐ Any person acting illegally or against good customs, causing damage to
 another, is obliged to provide relief, unless said person demonstrates that the damage
 occurred is a result of fault or inexcusable negligence of the victim.




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 Artículo 2108.‐ Se entiende por daño la pérdida o menoscabo sufrido en el patrimonio por
 la falta de cumplimiento de una obligación.

 Article 2108 – A damage is understood as the loss or impairment suffered in the
 patrimony by a breach of a duty.




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 Artículo 2109.‐ Se reputa perjuicio la privación de cualquiera ganancia lícita, que debiera
 haberse obtenido con el cumplimiento de la obligación.

 Article 2109 ‐ A consequential damage is the deprivation of any lawful gain which should
 have been obtained with the compliance of an obligation.




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 Artículo 2110.‐ Los daños y perjuicios deben ser consecuencia inmediata y directa de la
 falta de cumplimiento de la obligación, ya sea que se hayan causado o que
 necesariamente deban causarse.

 Article 2110 – Damages and consequential damages must be an immediate and direct
 consequence of a breach of a duty, whether they were caused or should be necessarily
 caused.




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